                 Case 4:11-cr-00290-LPR                      Document 630         Filed 03/23/16           Page 1 of 2
A0245D       (Rev. 09/11) Judgment in a Crimmal Case for Revocations
             Sheet l



                                    UNITED STATES DISTRICT COURT                                                !ASTEFINDISTFllCTARK.4NSA8

                                                         Eastern District of Arkansas                                 MAR 2 3 2016
         UNITED STA TES OF AMERICA                                      Judgment in a Criminal Ci¥
                                                                                                        JAME~,K
                     v.                                                 (For Revocation of Probation or Supervis~K
                 ERNEST RICHARD

                                                                        Case No. 4:11CR00290-05 JLH
                                                                        USM No. 26702-009
                                                                          Kim Driggers
                                                                                                Defendant's Attorney
THE DEFENDANT:
~ admitted guilt to violation of condition(s)          General, Special                 of the term of supervision.
D was found in violation of condition(s)              - - - - - - - - - - a f t e r denial of guilt.
The defendant is adjudicated guilty of these violations:


Violation Number                                           Nature of Violation                                 Violation Ended
                                Failure to notify probation office ten days prior to change in              02/18/2016

                                residence

2                               Failure to participate in substance abuse treatment as directed             02/18/2016


       The defendant is sentenced as provided in pages 2 through _ _2_ _ ofthis judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has not violated condition(s) _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address untn all fines, restitution, costs, and special assessments imposed by this judgment are
fully pa~d. ~f ordered to pay restitution, the defendant must notify the court and United States attorney of material changes m
economic cITcumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 97 42                     03/23/2016

Defendant's YearofBirth:           1985

City and State of Defendant's Residence:
Salem, Arkansas
                                                                          J. Leon Holmes                              U.S. District Judge
                                                                                               Name and Title of Judge

                                                                          03/23/2016
                                                                                                        Date
                       Case 4:11-cr-00290-LPR                      Document 630      Filed 03/23/16       Page 2 of 2
  AO 2450       (Rev. 09/11) Judgment in a Criminal Case for Revocations
                Sheet 2- Imprisonment

                                                                                                  Judgment - Page   -=2- of       2
  DEFENDANT: ERNEST RICHARD
  CASE NUMBER: 4:11 CR00290-05 JLH


                                                                    IMPRISONMENT

           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
  total term of :
FOUR (4) MONTHS with no term of supervised release to follow




     'if The court makes the following recommendations to the Bureau of Prisons:
The Court recommends the defendant participate in nonresidential substance abuse treatment during incarceration. The
Court further recommends placement in a facility nearest Fulton County, Arkansas, so as to remain near his family.


     'if The defendant is remanded to the custody of the United States Marshal.
     D The defendant shall surrender to the United States Marshal for this district:
            D     at   --------- D                   a.m.             D p.m.    on
            D     as notified by the United States Marshal.

     D      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
            D     before 2 p.m. on
            D     as notified by the United States Marshal.
            D     as notified by the Probation or Pretrial Services Office.

                                                                           RETURN

  I have executed this judgment as follows:




            Defendant delivered on                                                     to

  at - - - - - - - - - - - - - - with a certified copy of this judgment.




                                                                                               UNITED STA TES MARSHAL


                                                                               By
                                                                                            DEPUTY UNITED STA TES MARSHAL
